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                             Application for Multi-Court Exemption from the
                         Judicial Conference's Electronic Public Access (EPA) Fees

1.) I am requesting an exemption from fees for public access to electronic case records for the courts
selected below:
 Courts of Appeal                              Bankruptcy Appellate Panels (BAP)
        All Courts of Appeal        Seventh Circuit           First Circuit - BAP
        First Circuit               Eighth Circuit            Sixth Circuit - BAP
        Second Circuit              Ninth Circuit             Eighth Circuit - BAP
        Third Circuit               Tenth Circuit             Ninth Circuit - BAP
        Fourth Circuit              Eleventh Circuit          Tenth Circuit - BAP
        Fifth Circuit               D.C. Circuit
        Sixth Circuit               Federal Circuit

  District Courts
        All District Courts
        Alabama Middle              Illinois Northern         Nebraska                         Rhode Island
        Alabama Northern            Illinois Central          Nevada                           South Carolina
        Alabama Southern            Illinois Southern         New Hampshire                    South Dakota
        Alaska                      Indiana Northern          New Jersey                       Tennessee Eastern
        Arizona                     Indiana Southern          New Mexico                       Tennessee Middle
        Arkansas Eastern            Iowa Northern             New York Eastern                 Tennessee Western
        Arkansas Western            Iowa Southern             New York Northern                Texas Eastern
        California Central          Kansas                    New York Southern                Texas Northern
        California Eastern          Kentucky Eastern          New York Western                 Texas Southern
        California Northern         Kentucky Western          North Carolina Eastern           Texas Western
        California Southern         Louisiana Eastern         North Carolina Middle            Utah
        Colorado                    Louisiana Middle          North Carolina Western           Vermont
        Connecticut                 Louisiana Western         North Dakota                     Virgin Islands
        Delaware                    Maine                     Northern Mariana Islands         Virginia Eastern
        District of Columbia        Maryland                  Ohio Northern                    Virginia Western
        Florida Middle              Massachusetts             Ohio Southern                    Washington Eastern
        Florida Northern            Michigan Eastern          Oklahoma Eastern                 Washington Western
        Florida Southern            Michigan Western          Oklahoma Northern                West Virginia Northern
        Georgia Northern            Minnesota                 Oklahoma Western                 West Virginia Southern
        Georgia Middle              Mississippi Northern      Oregon                           Wisconsin Eastern
        Georgia Southern            Mississippi Southern      Pennsylvania Eastern             Wisconsin Western
        Guam                        Missouri Eastern          Pennsylvania Middle              Wyoming
        Hawaii                      Missouri Western          Pennsylvania Western
        Idaho                       Montana                   Puerto Rico
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    Bankruptcy Courts
          All Bankruptcy Courts
          Alabama Middle                Illinois Northern              Nebraska                           Rhode Island
          Alabama Northern              Illinois Central               Nevada                             South Carolina
          Alabama Southern              Illinois Southern              New Hampshire                      South Dakota
          Alaska                        Indiana Northern               New Jersey                         Tennessee Eastern
          Arizona                       Indiana Southern               New Mexico                         Tennessee Middle
          Arkansas Eastern              Iowa Northern                  New York Eastern                   Tennessee Western
          Arkansas Western              Iowa Southern                  New York Northern                  Texas Eastern
          California Central            Kansas                         New York Southern                  Texas Northern
          California Eastern            Kentucky Eastern               New York Western                   Texas Southern
          California Northern           Kentucky Western               North Carolina Eastern             Texas Western
          California Southern           Louisiana Eastern              North Carolina Middle              Utah
          Colorado                      Louisiana Middle               North Carolina Western             Vermont
          Connecticut                   Louisiana Western              North Dakota                       Virgin Islands
          Delaware                      Maine                          Northern Mariana Islands           Virginia Eastern
          District of Columbia          Maryland                       Ohio Northern                      Virginia Western
          Florida Middle                Massachusetts                  Ohio Southern                      Washington Eastern
          Florida Northern              Michigan Eastern               Oklahoma Eastern                   Washington Western
          Florida Southern              Michigan Western               Oklahoma Northern                  West Virginia Northern
          Georgia Northern              Minnesota                      Oklahoma Western                   West Virginia Southern
          Georgia Middle                Mississippi Northern           Oregon                             Wisconsin Eastern
          Georgia Southern              Mississippi Southern           Pennsylvania Eastern               Wisconsin Western
          Guam                          Missouri Eastern               Pennsylvania Middle                Wyoming
          Hawaii                        Missouri Western               Pennsylvania Western
          Idaho                         Montana                        Puerto Rico

National Courts
        Judicial Panel on                 U.S. Court of             U.S. Court of
        Multidistrict Litigation          Federal Claims            International Trade


2.) I am an individual associated with               the University of Illinois at Urbana-Champaign

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.

I am a 3rd year Ph.D. student in Finance at the University of Illinois at Urbana-Champaign. The PACER data will be used for my
research project "The introduction of E-filing and bankruptcy behavior". I am going to compare bankruptcy behavior (e.g. the
number of bankruptcies in each bankruptcy chapter) before the adoption of e-filing (CM/ECF) with those after the adoption. I have
attached the timing of the CM/ECF adoptions for each bankruptcy court district. As shown in the attachment, the adoption dates of
CM/ECF are clustered around the early- and mid- 2000s, so I plan to analyze bankruptcy behavior from 2000 through 2004 using
the PACER service. This research project could establish how debtors change their behavior when they have an easier option to file
for bankruptcy and refer to historical bankruptcy records. As a result, this project could also contribute to revealing the positive role
of PACER and CM/ECF for potential bankruptcy filers, which would be consistent with the interest of U.S. courts and PACER.
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4.) In support of this application, I affirm the following:
   a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
   unreasonable burdens and to promote public access to information.
  b) That the exemption will be for a definitive period of time:
  c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
  stated above, and will apply only to the electronic case files of the court(s) indicated above that are
  available through the PACER service.
  d) I agree that any data received through this exemption will not be sold for profit, will not be
  transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

    Declaration: I declare that all the above information is true and understand that a false statement
    may result in termination of my exempt access and an assessment of Electronic Public Access
    usage fees. (The box must be marked or your request will not be considered)



Jeyul Yang
                                                         Applicant's Phone Number
Applicant's Printed Name

Ph.D. Candidate                                          Applicant's email address
                                                         340 Wohlers Hall, 1206 S. Sixth
Applicant's Title
                                                         Applicant's Mailing Address
                                                         Champaign                    IL      61820
                                                         City                         State   Zip Code
Applicant's Signature


                                                                                       Date



Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov
or by mail to:
Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD
One Columbus Circle, N.E.
Washington, DC 20544

         ** Requests sent through the US mail may take up to two weeks to clear security.**
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                 CASE MANAGEMENT/ELECTRONIC CASE FILES (CM/ECF)
                           IMPLEMENTATION SCHEDULE

The chart below shows the current implementation schedule for CM/ECF throughout the district and
bankruptcy courts in the Federal Judiciary. Those courts in dark blue are already live on CM/ECF.
The date in the dark blue boxes is the date the court started live operation. The courts in light blue are
those courts that have begun the implementation process. The date in the light blue boxes is the date
the court began or will begin the implementation process. Implementation can vary from 10 to 18
months depending on the court. Those courts with a white box and no date have not yet begun
implementation of CM/ECF. The date in the upper right hand corner of the chart is the date the chart
was last updated. For a list of courts currently accepting electronic filings see the press release, by
clicking here.
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                                       CM/ECF Implementation Status
scheduled implementation start
 actual implementation start                                                                   August 1, 2006
    start of live operation
                                                                                             CM/ECF Underway in:
  Court   Bankruptcy        District         Court   Bankruptcy        District                    202 Courts
                       2               21                         2               21
   AK      Oct-01           Dec-05            MT     Aug-02            Nov-05
 AL-M      Jul-02      4
                            Apr-04     13
                                             NC-E    May-04       8
                                                                       Oct-05     21
                                                                                             94 Bankruptcy Courts
 AL-N      Feb-04      11
                            Nov-04     18
                                             NC-M    Oct-03       8
                                                                       Feb-05     19
                                                                                                93 Operational
                       4               9                          A               20
 AL-S      Jun-02           May-03           NC-W    Apr-01            May-05
 AR-E      Dec-01      3
                            Jul-05     20
                                              ND     Aug-04       16
                                                                       Nov-05     21
                                                                                             94 District Courts
 AR-W      Dec-01      3
                            Aug-05     20
                                              NE     Jan-02       3
                                                                       Mar-02     5-W
                                                                                                89 Operational
                       P               20                         2               12
   AZ      Oct-97           Jul-05            NH     Dec-01            Nov-03
 CA-C      Sep-05      15
                            Jul-03     9
                                               NJ    Apr-02       1
                                                                       Jan-04     12
                                                                                             12 Appellate Courts
 CA-E      Aug-05      16
                            Jan-05     16
                                              NM     Jun-06       8
                                                                       Sep-05     NW
                                                                                                 0 Operational
                       7               A                          21              21
 CA-N      Apr-03           Apr-01            NMI    Sep-04            Jul-05
                       P               20                         3               21
 CA-S      Mar-98           Jul-04            NV     Jan-02            Nov-05                 2 Other Courts
                       2               17                         W               P
   CO      Jan-02           Nov-04           NY-E    Apr-02            Nov-97                     2 Operational
                       7               10                         6               13
   CT      Nov-03           Oct-03           NY-N    Jan-03            Dec-03
                       6               A                          P               5-W
   DC      Oct-03           Jan-01           NY-S    Nov-96            Dec-03
                       1               17                         8               11
   DE      Aug-01           Feb-05           NY-W    Jun-03            Oct-03
                       7               16                         2               P
 FL-M      Feb-03           Jul-04           OH-N    Sep-01            Nov-97
                       11              12                         6               11
 FL-N      Nov-03           Nov-03           OH-S    Apr-03            Sep-03                 Circuit
                       14              21                         8               21                                           AP
 FL-S      Oct-05           Sep-04           OK-E    Mar-04            Feb-06                      1st        Jan-05
                       W               16                         13              14                                           AP
 GA-M      Oct-05           Oct-04           OK-N    Dec-03            Jan-05                     2nd         Dec-05
                       P               14                         21              11                                           AP
 GA-N      Nov-97           Jul-04           OK-W    Dec-05            Oct-03                     3rd         Jan-05
                       16              19                         2               P                                            AP
 GA-S      Aug-05           May-05            OR     Nov-03            Nov-97                      4th        Jan-05
                       13              18                         6               5-W                                          AP
   GU      May-04           Aug-05           PA-E    Oct-02            May-02                      5th        Jan-05
                       7               20                         6               9                                            AP
   HI      Jun-03           Jul-04           PA-M    May-03            Mar-03                      6th        Jan-05
                       4               9                          4               20                                           AP
 IA-N      Mar-02           Jun-03           PA-W    Sep-02            Jun-05                      7th        Jan-05
                       1               18                         14              13                                           AP
  IA-S     Aug-03           Oct-04             PR    Feb-05            Jan-04                      8th        Jan-05
                       19              19                         8               20                                           AP
   ID      Dec-04           Dec-04             RI    Apr-03            May-05                      9th        Jan-05
                       14              16                         1               19                                           AP
  IL-C     Mar-04           Jul-04             SC    Jan-03            Feb-05                     10th        Jan-05
                       7               11                         3               10                                           AP
  IL-N     Jun-03           Jan-05            SD     Dec-01            Jul-03                     11th        Dec-05
                       4               12                         11              15                                           AP
  IL-S     Feb-02           Jan-04           TN-E    May-05            May-04                     DC          Jan-05
                       6               12                         W               19
 IN-N      Sep-02           Nov-03           TN-M    Oct-04            Jun-05
                       16              5-W                        8               15
  IN-S     Oct-04           Jun-02           TN-W    Jun-03            Jun-04
                       8               9                          4               11
   KS      Dec-03           Mar-03           TX-E    Mar-02            Feb-04
                       4               10                         7               5-W
 KY-E      Jun-02           Mar-03           TX-N    Feb-03            Feb-03               Other Courts
                       4               10                         4               10
 KY-W      Feb-02           Aug-03           TX-S    Mar-02            Sep-04                     CIT         Dec-00
                       3               19                         A               18          Court of International Trade
 LA-E      Dec-01           Feb-05           TX-W    Apr-01            May-06
                       W               18                         1               15                                            9
 LA-M      Feb-01           Jan-05            UT     Oct-01            May-05               Ct of Claims Mar-03
                       6               12                         P               19          Court of Federal Claims
 LA-W      Oct-02           Jun-04           VA-E    Oct-97            May-05
                       7               9                          11              13
   MA      Apr-03           May-03           VA-W    Oct-04            Feb-04
                       6               9                          21
   MD      Apr-03           Mar-03             VI    Oct-05            Dec-05
                       3               9                          1               17
   ME      Jan-02           Feb-03            VT     Apr-02            Jan-05
                       16              12                         13              17
 MI-E      May-05           Jan-04           WA-E    Jun-04            Oct-04               Wave # shown in date
                       7               A                          W               10
 MI-W      Jul-03           Aug-01           WA-W    Jun-01            Jun-03              * A = Alpha
                       14              13                         3               5-W
   MN      Oct-05           Feb-04           WI-E    Feb-04            Nov-02                AP = Appellate
                       7               10                         3
 MO-E      Feb-03           Oct-03           WI-W    Feb-02            May-06                NW = non-wave
                       W               P                          3               18
 MO-W      Apr-01           Oct-97           WV-N    Mar-03            Mar-05                P = Prototype
                       6               18                         8               12
 MS-N      Nov-03           Nov-04           WV-S    Apr-03            Apr-04                W = Wave Test
                       13              18                         A               10
 MS-S      Mar-05           Dec-04            WY     Apr-02            Jul-03                nn = wave number

                                                                                                            Revised 8/1/2006
